         Case 19-20400           Doc 164   Filed 11/18/19   Entered 11/18/19 15:42:51           Page 1 of 1

                           United States Bankruptcy Court
                                     District of Connecticut
                                                                                          Filed and Entered
                                                                                              On Docket
                                                                                         November 18, 2019


In re:
         Donna J. Barnes                                                            Case Number: 19−20400 jjt
         Debtor*                                                                    Chapter: 11




               NOTICE OF RESCHEDULED HEARING REGARDING BIDDING PROCEDURES


PLEASE TAKE NOTICE that Hearing will be held at 450 Main Street, 7th Floor Courtroom, Room 715B,
Hartford, CT 06103 on December 12, 2019 at 03:00 PM to consider and act upon the following matter(s):


              Motion to Convert Case from Chapter 11 to Chapter 7 or (II) Terminate Exclusivity or
              (III) Appoint Chapter 11 Trustee Filed by Craig I. Lifland on behalf of Shem Creek
              Haystack LLC, Creditor. (Re: Doc #96)

              Disclosure Statement Filed by Jon P. Newton on behalf of Donna J. Barnes Debtor .
              (Attachments: # 1 Schedule A # 2 Exhibit 1 # 3 Exhibit 2 # 4 Exhibit 3)(Newton, Jon)
              (Re: Doc #127)




TO THE FILING PARTY: If the you or your attorney fail to participate in the above scheduled hearing, the court
may enter an order denying the matter(s) identified above.


Dated: November 18, 2019
                                                                                  For the Court


                                                                                  Pietro Cicolini
                                                                                  Clerk of Court

United States Bankruptcy Court                                              Tel. (860) 240−3675
District of Connecticut                                                     VCIS* (866) 222−8029
450 Main Street, 7th Floor                                                  * Voice Case Information System
Hartford, CT 06103                                                          http://www.ctb.uscourts.gov
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